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                             Nebraska Court of Appeals Advance Sheets
                                  28 Nebraska Appellate Reports
                                                FICHTL v. FICHTL
                                              Cite as 28 Neb. App. 380



                                        Jared L. Fichtl, appellee, v.
                                         Joey W. Fichtl, appellant.
                                                   ___ N.W.2d ___

                                         Filed May 19, 2020.     No. A-19-203.

                 1. Child Custody: Appeal and Error. Child custody determinations are
                    matters initially entrusted to the discretion of the trial court, and
                    although reviewed de novo on the record, the trial court’s determination
                    will normally be affirmed absent an abuse of discretion.
                 2. Judgments: Words and Phrases. An abuse of discretion occurs when
                    a trial court bases its decision upon reasons that are untenable or unrea-
                    sonable or if its action is clearly against justice or conscience, reason,
                    and evidence.
                 3. Child Custody: Appeal and Error. In child custody cases, where the
                    credible evidence is in conflict on a material issue of fact, the appellate
                    court considers, and may give weight to, the fact that the trial judge
                    heard and observed the witnesses and accepted one version of the facts
                    rather than another.
                 4. Modification of Decree: Child Support: Appeal and Error.
                    Modification of a dissolution decree is a matter entrusted to the discre-
                    tion of the trial court, whose order is reviewed de novo on the record,
                    and which will be affirmed absent an abuse of discretion by the trial
                    court. The same standard applies to the modification of child support.
                 5. Modification of Decree: Child Custody: Proof. Prior to the modifica-
                    tion of a child custody order, two steps of proof must be taken by the
                    party seeking the modification. First, the party seeking modification
                    must show a material change in circumstances, occurring after the entry
                    of the previous custody order and affecting the best interests of the
                    child. Next, the party seeking modification must prove that changing the
                    child’s custody is in the child’s best interests.
                 6. Modification of Decree: Words and Phrases. A material change of
                    circumstances constituting grounds for modification of a dissolution
                    decree means the occurrence of something which, had it been known
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           Nebraska Court of Appeals Advance Sheets
                28 Nebraska Appellate Reports
                               FICHTL v. FICHTL
                             Cite as 28 Neb. App. 380
      to the dissolution court at the time of the initial decree, would have
      persuaded the court to decree differently.
 7.   Child Custody. Ordinarily, custody of a minor child will not be modi-
      fied unless there has been a material change in circumstances showing
      that the custodial parent is unfit or that the best interests of the child
      require such action.
 8.   ____. While the wishes of a child are not controlling in the determina-
      tion of custody, if a child is of sufficient age and has expressed an intel-
      ligent preference, the child’s preference is entitled to consideration.
 9.   Modification of Decree: Proof. The party seeking modification of a
      parenting plan has the burden to show a material change in circum-
      stances and that such modification is in the children’s best interests.
10.   Modification of Decree: Child Support: Proof. A party seeking to
      modify a child support order must show a material change in circum-
      stances that (1) occurred subsequent to the entry of the original decree
      or previous modification and (2) was not contemplated when the decree
      was entered.
11.   Modification of Decree: Child Support. Courts may consider various
      factors to determine whether a material change of circumstances has
      occurred. Among the factors to be considered are (1) changes in the
      financial position of the parent obligated to pay support, (2) the needs of
      the children for whom support is paid, (3) good or bad faith motive of
      the obligated parent in sustaining a reduction in income, and (4) whether
      the change is temporary or permanent.
12.   Courts: Child Support. The trial court has discretion to choose whether
      and how to calculate a deduction for subsequent children.
13.   Modification of Decree: Child Support: Proof. The party requesting a
      deduction for his or her obligation to support subsequent children bears
      the burden of providing evidence of the obligation, including the income
      of the other parent of the child.
14.   Equity: Modification of Decree: Child Support: Time. Absent equi-
      ties to the contrary, the general rule is that the modification of a child
      support order should be applied retroactively to the first day of the
      month following the filing day of the application for modification.
15.   Child Support: Child Custody. In the determination of child support,
      the children and the custodial parent should not be penalized for delay in
      the legal process, nor should the noncustodial parent gratuitously benefit
      from such delay.

  Appeal from the District Court for Douglas County: Thomas
A. Otepka, Judge. Affirmed as modified.
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        FICHTL v. FICHTL
                      Cite as 28 Neb. App. 380
  Adam E. Astley, of Astley Putnam, P.C., L.L.O., for appellant.
  Benjamin M. Belmont and Wm. Oliver Jenkins, of Brodkey,
Cuddigan, Peebles, Belmont &amp; Line, L.L.P., for appellee.
  Pirtle, Riedmann, and Welch, Judges.
  Pirtle, Judge.
                       I. INTRODUCTION
   Joey W. Fichtl, now known as Joey W. Hansen, appeals
from an order of the Douglas County District Court denying
her application for modification of a previously entered decree
of dissolution in regard to child custody and parenting time
and granting the counterclaim of Jared L. Fichtl to modify the
decree in regard to child support. Based on the reasons that
follow, we find that the district court did not abuse its discre-
tion in declining to modify child custody and parenting time
and in modifying Joey’s child support obligation. However, we
find that the district court erred in calculating Jared’s monthly
income. Accordingly, we affirm the district court’s decision
regarding modification and modify the portion of the decree
concerning child support.
                     II. BACKGROUND
   Joey and Jared were married in 2003 and are the par-
ents of three minor children: Kalilee Fichtl (Kali), born in
2002; Liberty Fichtl (Liby), born in 2004; and Trapton Fichtl
(Trapper), born in 2008. The parties divorced in 2012 and
entered into a consent decree whereby they shared legal cus-
tody; Jared was granted physical custody and final decision-
making in the event that the parties disagreed on religious,
medical, or educational decisions; and Joey received certain
parenting time. Trial regarding Joey’s application to modify
and Jared’s counterclaim took place on May 4, 2017, and April
4, 2018. The district court entered an order of modification
on May 31, denying Joey’s request to modify custody and
granting Jared’s request for child support. On December 18,
the court heard Joey’s motion to alter or amend the order of
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        FICHTL v. FICHTL
                      Cite as 28 Neb. App. 380
modification. That motion was denied on January 28, 2019.
This appeal followed.
   At trial, Joey testified that the initial parenting plan was
drafted by Jared’s attorney and that Jared had indicated to her
they would be able to “split a lawyer.” Joey testified that at
the time she signed the parenting plan, Jared indicated they
“would never follow it,” and that the two subsequently did not
follow its terms after it had been entered by the court. Joey
and Jared initially followed an informal routine, where Joey
would see the children when she was not scheduled to work.
She testified that at the time the parenting plan was entered, in
July 2012, she had contemplated pursuing further education,
but was undecided at the time. Joey applied for, but was not
initially accepted into, a medical school program in Grenada to
begin in the fall of 2012.
   Joey testified that when she brought up her plan to pursue
an education in Grenada and their arrangement with visiting
the children, Jared called her an “idiot” for signing the par-
enting plan and stated that they were going to start follow-
ing the plan entered by the court. Joey moved to Grenada in
August 2012. She testified that she would return to Nebraska
for several months to see the children when she had breaks in
her educational requirements in Grenada. Despite her requests
for more parenting time, Jared would refuse and adhere to the
parenting plan previously entered by the court.
   Joey testified that she made several attempts to call or
“Skype” with the children, but she would not get an answer
or would be met with excuses from Jared that he “couldn’t
get it set up.” In 2014, Joey made the decision not to return
to school in Grenada due to her father’s ill health. Instead,
Joey completed her master’s degree in nursing and continued
to apply for medical programs in Nebraska. Joey worked as a
nurse and made arrangements to live in Omaha, Nebraska, in
December 2014.
   Joey testified that prior to filing the application to modify,
she experienced difficulties getting ahold of the children and
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                         FICHTL v. FICHTL
                       Cite as 28 Neb. App. 380
implementing aspects of the original parenting plan. After
returning to Nebraska, Joey sought to have more time with
the children than provided for under the original parenting
plan. Joey testified that she was requesting that Jared no
longer have the “final say” on education and health decisions
for the children due to ongoing difficulties she experienced
related to those issues.
   Joey testified that at one point, Jared indicated Kali had
started counseling and he had not discussed this with Joey
beforehand despite the two sharing joint legal custody of the
children. According to Joey, Jared would also sign the children
up for activities without first consulting her and would not
tell her about practices or games. There were several incidents
where Joey tried to attend school events with the children, but
Jared would tell her not to do so.
   Joey also discovered that she was not listed in the school
directory, nor with the children’s doctor and dentist, as the
children’s mother for contact purposes. Joey testified that
Jared would not communicate with her regarding the children’s
appointments. Joey testified that the police had to intervene to
enforce her parenting time on at least three occasions.
   Joey testified that she had a meeting scheduled with Kali
and Trapper’s therapist, Sarah Wemhoff-Strawn (Strawn), but
that when she reached out to confirm the meeting, she was told
Strawn was out of the office that day. Joey testified that she did
not make any further efforts to meet Strawn again because both
Jared and Kali told her not to attend the counseling sessions.
She further testified that she was not aware of any trust or
other issues Kali was having with her prior to hearing Strawn
testify about them. Joey indicated that she would be willing
to participate in therapy sessions in order to build a stronger
relationship with Kali.
   Joey testified that when the children are at her home, she
will coordinate activities with them such as playing soccer,
watching movies, and going to places such as the library. Joey
testified that she has remarried and lives with her husband,
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        FICHTL v. FICHTL
                      Cite as 28 Neb. App. 380
Lee Hansen (Lee), and that their home is large enough for
each child to have his or her own room when visiting. Joey
testified that the children have a “great relationship” with Lee
and that he is supportive of all the children’s activities.
   Joey testified that if she were awarded equal parenting time,
she would reduce her work hours and likely work only one job.
She testified that she earned a lump sum of $6,500 for teaching
a course between January and May of 2017. At her job with
Methodist Health System, Joey worked four 12-hour shifts
per month and earned $2 per hour when on call and $43 per
hour when required to go in. Joey also worked at CHI Health
Immanuel, where she worked three 12-hour shifts per week,
earning $31.64 per hour. Joey testified that under the original
parenting plan, the children remained on her health insurance
through her employment.
   On cross-examination, Joey denied ever talking negatively
about Jared or his current wife, Maggie Fichtl, although she
admitted Jared was listed in her cell phone contacts as “‘ass-
hole’” when she and Jared first separated. She denied ever
keeping the children from contacting Jared when they were
staying with her.
   Joey testified that she was aware when she moved to
Grenada that she would not see the children “every other
weekend and one day during the week,” as provided for under
the original parenting plan. She testified that when she returned
from Grenada, Jared requested her work schedule, and that she
would sometimes give it to him, but did not want him “show-
ing up” at her place of employment. She acknowledged that
all three of the children have done very well in school; are in
good health; and, for the most part, do well socially.
   Strawn provided counseling services for Kali for approxi-
mately 1 year leading up to trial. Kali was brought in to see
Strawn due to concerns that Kali was having difficulty express-
ing emotion and was stressed about her relationship with Joey.
Strawn testified that Kali told her that she had a difficult time
trusting Joey and that Kali felt Joey left abruptly, often does
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                        FICHTL v. FICHTL
                      Cite as 28 Neb. App. 380
not follow through with things, and places her in the middle
of arguments between Joey and Jared. Kali also has expressed
that she feels that Joey puts her in the middle of her rela-
tionship with Liby, where Kali feels she has to defend Liby.
Strawn testified that Kali has indicated that she gets anxious
visiting Joey and that she does not enjoy visiting her. Strawn
testified that since beginning their sessions, Kali has grown in
her ability to process and express emotions, although there is
continued tension between her and Joey.
   Strawn testified that Kali indicated that her trust of Joey
might grow if Joey did not speak poorly about Jared and his
wife, Maggie, and if she would begin to follow through on
things. Strawn testified that she does not believe spending
more time together would improve the relationship between
Kali and Joey at this time.
   Strawn testified that she also began to treat Trapper about
4 months before trial. Trapper initially had difficulty express-
ing emotions and displayed some behavioral issues at school.
Strawn testified that since her time seeing Trapper, he has
“opened up a little bit more” and enjoys spending time at both
Joey’s home and Jared’s home.
   On cross-examination, Strawn testified that tension between
a teenage daughter and her mother is common at Kali’s age.
Strawn testified that although she feels spending time with
each other would help the trust issues between Kali and Joey,
that relationship should not be forced. Strawn recalled that
when her sessions with Kali first began, Joey had contacted her
in order to discuss the issues Kali was having, but there was
a scheduling conflict. She testified that she has not spoken to
Joey regarding any of the issues being discussed in her coun-
seling sessions with the children due to client confidentiality.
She also stated that Kali was adamant that she did not want
counseling sessions to include her mother.
   The court conducted an in camera interview with two of
the minor children, Kali and Liby. Kali testified that she lives
with her father, stepmother, three siblings, and their dog. She
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                         FICHTL v. FICHTL
                       Cite as 28 Neb. App. 380
noted that she enjoys living there and has no concerns. She
testified that she gets along with her stepmother, Maggie, and
that they will do things together, such as attend concerts. She
testified that she also gets along with Jared and her siblings
and that they will spend time together as a family. Kali noted
that her stepsister was adopted by Jared but that Kali consid-
ers her to be “like [her] real sister.”
   Kali described her relationship with Joey as having been
“kind of rocky a little bit” for the 2 years or so leading up to
trial. She testified that she was “fine” with her current visita-
tion schedule with her mother, but that she would not mind if it
was less time. She testified that she is comfortable talking with
Jared if something is bothering her but that she is not really
comfortable talking to Joey.
   Kali testified that her stepfather, Lee, who is Joey’s hus-
band, is “really nice” and will usually be at the home when
she visits. She testified she has never heard Jared say anything
negative about Joey, but has heard Joey say negative things
about Jared on multiple occasions.
   Kali testified that she has chores and that rules are in place
when she is at Jared’s home, but there are not really any similar
rules in place at Joey’s home. She testified that they usually
do not make plans together while at Joey’s. Kali was unable
to say what her mother’s relationship is like with Trapper, but
noted that Joey and Liby do not really get along. Kali noted
that she feels “kind of . . . unsafe” at Joey’s, but was unable to
explain why.
   Liby referred to her mother as “Joey” and testified that she
does not really get along well with her. Liby testified that she
knows Joey does not really like her because Joey told her so.
She testified that Joey told her and Kali that they both are
a “disappointment.” Liby testified that she and her mother
have not really gotten along since her mother returned from
Grenada. Liby testified that she believes that under the current
visitation schedule, she sees her mother too often. She noted
that she and Kali usually stay in their room when visiting Joey
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                         FICHTL v. FICHTL
                       Cite as 28 Neb. App. 380
and that they do not do much while there. She testified that
she would like to see Joey “[m]aybe once a month.” She testi-
fied that prior to the time leading up to trial, Joey would not
call the children very often while they were at Jared’s.
   Liby testified that she has not heard Jared say anything neg-
ative about Joey, but that Joey will say negative things about
Jared’s wife, Maggie, including “[b]ad words.” She testified
that Joey told her and her siblings that they were not allowed
to talk about Jared anymore. Liby testified that she is not really
comfortable talking to Joey about her problems, but would if
she had to. She testified that Joey’s home is “super big” and
that sometimes it “scares” her.
   The second day of trial proceedings did not occur until 11
months later, on April 4, 2018. The proceedings resumed with
the continued cross-examination of Joey. Joey was unable to
produce documentation to support her testimony that she was
not listed as the children’s mother for contact purposes nor
specific emails where Jared told her she was not allowed to
volunteer at the children’s school.
   Joey admitted that she and Jared do not communicate effec-
tively and sometimes disagree on decisions regarding the chil-
dren. Joey testified that she and Jared originally agreed that
neither of them would pay child support and that the two
would split costs for the children “50/50.” She acknowledged
that she probably owed Jared some money for expenses, but
disputed the exact dollar amount. She testified that, at the time,
her only source of income was CHI Health Immanuel, but that
for the previous tax year, 2017, she had income from teaching
a course and from Methodist Health System.
   On redirect examination, Joey testified that since the previ-
ous trial date, she gave birth to another child. She testified
that she took 12 weeks of maternity leave, which required her
to use her initial 40 hours of paid time off, and that she then
was compensated 60 percent of her $32-per-hour base pay.
Joey testified that in order to spend time with her new child
and the other children, she would reduce her hours to work
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                         FICHTL v. FICHTL
                       Cite as 28 Neb. App. 380
the minimum 4 days per month and pick up additional shifts
as needed. She testified that she previously provided health
insurance for the children through her employer, but that was
changing so that it was provided through the employer of her
husband, Lee.
   She testified that Jared sent her receipts for some of the
items he was seeking reimbursement for, but not all of them.
She testified that she was not aware of Jared’s reimbursing her
for any of the items she sought reimbursement for.
   Joey testified that since the first day of trial, she had reached
out to the children’s therapist, Strawn, in an attempt to meet
with her regarding the children’s counseling. Joey testified that
Strawn referred her to another counselor to meet with for sepa-
rate sessions. Joey testified that she would like Liby to receive
counseling and that when she raised the issue with Jared, he
would state that she does not need it.
   Joey testified that between the trial dates, Liby refused
to attend parenting time with her on several occasions. In
response, Jared told Joey that he cannot force Liby to attend
and that it is something Joey needs to work out with Liby.
Joey testified that she and Jared split expenses for the children
for medical bills, school expenses, extracurricular activities,
and counseling.
   After the conclusion of Joey’s testimony, Jared moved to
dismiss Joey’s claim seeking modification of the parenting plan
based on the fact that she had not met her burden of showing
a material change in circumstances and/or that modification
was in the children’s best interests. The district court reserved
ruling on the motion until the conclusion of the presentation of
all evidence.
   A friend and neighbor of Jared was called to testify on his
behalf. She testified that she has the opportunity to see the
children nearly every day in Jared’s care and that they over-
all appear “clean and happy and social, very sociable.” She
described Jared’s interaction with the children as “[c]aring
and loving, in tune to everything they’re doing and interested
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                         FICHTL v. FICHTL
                       Cite as 28 Neb. App. 380
in everything they’re doing.” She described Jared as caring,
patient, and affectionate with the children. She also described
Jared’s wife, Maggie, as “very motherly and caring.”
   Jared testified that all three of his children with Joey have
lived with him since they were born. Jared testified that he
sends Joey an email itemizing expenses for which he is seeking
reimbursement and provides receipts when they are available.
He testified Joey most recently owed him around $5,900 for
such expenses.
   Jared testified that at the time the original dissolution decree
and parenting plan was entered into, he was aware Joey would
be moving to Grenada because she told him such, but she did
not indicate when she would return. He testified that while
Joey was in Grenada, she would not exercise her parenting
time under the original plan, but would return for a month or
two throughout the year.
   Jared testified that when Kali first began counseling, he
attempted to discuss it with Joey, but Joey would not respond
whether or not she was “okay” with the counseling because she
wanted to know the reason for it. Jared did not explain why
counseling was necessary, because Kali had asked him not to
tell Joey about it.
   He indicated that he has always kept Joey informed about
the children’s appointments and that although Joey was not
initially listed on paperwork with their dentist, she was ulti-
mately added to it. Jared testified that he has never refused
telephone contact by Joey with the children and that the two
arranged a specific time for her to call, but she would not
always take advantage of that time. Occasionally, weeks would
go by where she did not call the children. Jared denied that the
original parenting plan was not being followed immediately
after the divorce.
   Jared testified that he tries to foster a relationship between
the children and their mother by having them in counseling
and encouraging them to attend the parenting time with her.
He testified that after Joey returned from Grenada, her work
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                         FICHTL v. FICHTL
                       Cite as 28 Neb. App. 380
schedule would occasionally require her to work Wednesdays,
but he would work with her in an attempt to find an alternate
time for her parenting time. He testified that despite several
requests, Joey did not provide him her work schedule so that
he was able to plan her parenting time around her schedule.
The evidence showed that all of the children performed well
in school. Jared testified that the children are in good health,
do well socially, and are very close with one another and their
stepsister. Jared testified that he has rules and discipline proce-
dures for the children at home.
   Jared testified that he is currently occupied in residential
construction and owns 50 percent of a construction business.
Evidence was introduced in the form of Jared’s personal and
company tax returns for the years 2013 through 2016. Jared
testified that his income varies annually based on the amount
of his company’s business. Jared testified that his average
annual income between 2013 and 2016 was $63,163. That
amount included depreciation deductions from his business.
   On cross-examination, Jared testified that he believes the
children are “doing excellent” with the current parenting
arrangement and that he does not feel the need to change it
and disrupt their lives. Jared testified that in the 6 years he
and Joey have been divorced, Joey has received extra parent-
ing time with the children on two occasions. Jared testified
that he would always attempt to contact Joey prior to enrolling
the children in activities. He testified that although he always
encourages Liby to attend her parenting time with Joey, that
decision is ultimately up to the two of them. Jared denied that
there were times where he and Joey would reimburse each
other for expenses incurred outside of what was listed in the
original divorce decree.
   On May 31, 2018, the district court entered an order finding
Joey had not met her burden of demonstrating both a material
change in circumstances and that modification of the parenting
plan would be in the children’s best interests. Joey’s applica-
tion to modify the original parenting plan was denied and
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        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
                         FICHTL v. FICHTL
                       Cite as 28 Neb. App. 380
dismissed. The district court also ordered that Joey be required
to pay child support in the amount of $1,354 per month, retro-
active to August 1, 2015.
   On June 8, 2018, Joey filed a motion to alter or amend the
court’s previous order on her application for modification and
Jared’s counterclaim seeking child support. That motion was
heard before the district court on December 18. At the hearing,
counsel for Joey argued that the court’s determination regard-
ing (1) custody, (2) parenting time and parenting rights, (3)
child support and reimbursement calculations, and (4) child
support arrearage were contrary to the evidence produced at
trial and not in accordance with Nebraska law. On January 28,
2019, the district court entered an order denying Joey’s motion
to alter or amend. This appeal followed.

                III. ASSIGNMENTS OF ERROR
    Joey assigns that the district court erred when it (1) declined
to award the parties joint physical custody and equal parent-
ing time or, in the alternative, (2) declined to make a less sig-
nificant change to the parenting plan such as ordering family
therapy. She further assigns that the district court erred when it
(3) ordered Joey to pay child support to Jared, (4) determined
Jared’s income for child support purposes, (5) used the wrong
filing statuses for the parties on its child support calculation
worksheet, (6) failed to give Joey credit for her subsequently
born child on the child support calculation worksheet, and (7)
made its child support award retroactive.

               IV. STANDARD OF REVIEW
   [1,2] Child custody determinations are matters initially
entrusted to the discretion of the trial court, and although
reviewed de novo on the record, the trial court’s determina-
tion will normally be affirmed absent an abuse of discretion.
Schrag v. Spear, 290 Neb. 98, 858 N.W.2d 865 (2015). An
abuse of discretion occurs when a trial court bases its deci-
sion upon reasons that are untenable or unreasonable or if
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             28 Nebraska Appellate Reports
                        FICHTL v. FICHTL
                      Cite as 28 Neb. App. 380
its action is clearly against justice or conscience, reason, and
evidence. Id.   [3] In child custody cases, where the credible evidence is in
conflict on a material issue of fact, the appellate court consid-
ers, and may give weight to, the fact that the trial judge heard
and observed the witnesses and accepted one version of the
facts rather than another. Id.   [4] Modification of a dissolution decree is a matter entrusted
to the discretion of the trial court, whose order is reviewed de
novo on the record, and which will be affirmed absent an abuse
of discretion by the trial court. The same standard applies to
the modification of child support. Roberts v. Roberts, 25 Neb.
App. 192, 903 N.W.2d 267 (2017).

                         V. ANALYSIS
               1. Custody and Parenting Plan
   [5,6] Joey’s first two assignments of error are based on
the district court’s denial of her application for modification
of the parties’ original decree of dissolution of marriage and
parenting plan. Prior to the modification of a child custody
order, two steps of proof must be taken by the party seeking
the modification. First, the party seeking modification must
show a material change in circumstances, occurring after the
entry of the previous custody order and affecting the best
interests of the child. Eric H. v. Ashley H., 302 Neb. 786, 925
N.W.2d 81 (2019). Next, the party seeking modification must
prove that changing the child’s custody is in the child’s best
interests. Id. A material change of circumstances constitut-
ing grounds for modification of a dissolution decree means
the occurrence of something which, had it been known to the
dissolution court at the time of the initial decree, would have
persuaded the court to decree differently. Id.   For the reasons that follow, we determine the district court
did not abuse its discretion in finding Joey did not meet
her burden of proof in showing both a material change in
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        Nebraska Court of Appeals Advance Sheets
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                        FICHTL v. FICHTL
                      Cite as 28 Neb. App. 380
circumstances and that a change would be in the children’s
best interests.
           (a) Physical Custody and Parenting Time
   Joey first argues that the district court erred in not award-
ing her joint physical custody and/or equal parenting time.
We disagree. Notably, Joey’s first request for joint physical
custody was not made until after trial had commenced. In her
application for modification, Joey sought only “a new detailed
parenting plan setting forth the relative rights and obligations
as related to the minor children.” Notwithstanding, Joey now
argues a material change in circumstances exists, warranting
an award of joint physical custody and/or equal parenting time,
because (1) she relied on Jared’s assurances that they would
not follow the parenting time provisions within the divorce
decree and (2) she has returned to Omaha, where the children
and Jared reside, and is now able to exercise more parenting
time with the children.
   The relevant parenting time provisions of the original par-
enting plan set forth the following:
        Parenting time Arrangements—The parents agree to
     arrange liberal and reasonable parenting time as is agreed
     to by the parents. The parents agree to have a flexible
     parenting time due to work schedules of the parents. If
     the parents fail to agree, parenting time with the children
     shall be as set forth below:
        A. Weekend Parenting Time: Mother shall have
     Parenting Time with the children every other weekend
     from 6:00 p.m. on Friday to 8:00 p.m. on Sunday the first
     weekend following the entry of the order.
        B. Week Day Parenting Time: Mother shall have
     Parenting Time with the children every Wednesday from
     5:30 p.m. to 8:00 p.m.
The Parenting Plan then sets forth provisions for holiday par-
enting time.
   We first find no merit in Joey’s contention that she has
detrimentally relied on Jared’s assurances they would never
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follow the terms of the parenting plan and now Jared is refus-
ing to honor the informal agreement by withholding parenting
time. A material change of circumstances constituting grounds
for modification of a dissolution decree means the occurrence
of something which, had it been known to the dissolution court
at the time of the initial decree, would have persuaded the
court to decree differently. Eric H. v. Ashley H., supra. Even
assuming that Jared made such a promise, we cannot say that
his failure to provide liberal parenting time in accordance with
that promise is a material change in circumstances warranting
modification. In this case, the provisions of the parenting plan
specifically contemplate the possibility that Joey and Jared
may not agree on a schedule allowing liberal parenting time.
Nevertheless, the parenting plan provides for that possibility
by providing Joey with specific parenting time every other
weekend and Wednesday evenings in the event the parties
do not agree. The risk of no agreement was recognized by
the dissolution court at the time of the initial decree and was
accounted for in the parenting plan. Because the possibility
that the parties may not agree on liberal parenting time was
accounted for in the original decree, we cannot say Joey has
met her burden in showing a material change in circumstances
warranting modification. This argument fails.
   Joey’s primary argument for a material change in circum-
stances is that she has returned from Grenada and now is
able to exercise significantly more parenting time with the
children. Although we take this opportunity to clarify our
precedent in cases involving the modification of custody and/
or parenting time, we agree with the district court that Joey
has not satisfied her burden of showing a material change
in circumstances.
   In her brief, Joey takes issue with the district court’s reli-
ance on this court’s opinion in McDonald v. McDonald, 21
Neb. App. 535, 541, 840 N.W.2d 573, 582 (2013), where we
held that “[c]hanges in circumstances which were within the
contemplation of the parties at the time of the decree are not
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material changes in circumstances for purposes of modifying a
divorce decree.” We note that this court has applied this rule
in other cases involving the modification of custody arrange-
ments. See, e.g., Speers v. Johns, 26 Neb. App. 889, 923
N.W.2d 777 (2019) (applying rule in modification of custody
and removal setting); Hall v. Hall, 26 Neb. App. 877, 924
N.W.2d 733 (2019) (applying rule in modification of child
custody setting). However, after review of Nebraska Supreme
Court precedent, we are unable to find a case that applies this
definition in the modification of child custody and/or parent-
ing time context. Rather, the use of the “contemplation of
the parties” language has been limited to cases involving the
modification of child support or alimony. See, e.g., Incontro v.
Jacobs, 277 Neb. 275, 761 N.W.2d 551 (2009) (modification
of child support); Collett v. Collett, 270 Neb. 722, 707 N.W.2d
769 (2005) (modification of alimony); Pope v. Pope, 251 Neb.
773, 559 N.W.2d 192 (1997) (modification of alimony). Our
line of cases applying this language in the modification of
child custody context have repeatedly cited to the Supreme
Court’s decision in Desjardins v. Desjardins, 239 Neb. 878,
479 N.W.2d 451 (1992), which was a case involving the modi-
fication of alimony.
   We now clarify that in cases involving the modification of
child custody, a material change of circumstances constituting
grounds for modification means the occurrence of something
which, had it been known to the dissolution court at the time
of the initial decree, would have persuaded the court to decree
differently. See, Eric H. v. Ashley H., 302 Neb. 786, 925
N.W.2d 81 (2019); Schrag v. Spear, 290 Neb. 98, 858 N.W.2d
865 (2015); McDougall v. McDougall, 236 Neb. 873, 464
N.W.2d 189 (1991). To the extent Speers v. Johns, supra; Hall
v. Hall, supra; McDonald v. McDonald, supra; and our other
cases have applied the “contemplation of the parties” language
to the definition of a material change in circumstances, outside
of the modification of alimony and child support contexts, we
expressly disapprove of that application. Nevertheless, we
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find that Joey has not met her burden of establishing a mate-
rial change in circumstances in this case.
   There is nothing in the record to suggest that the dissolution
court would have decreed differently had it known that Joey
intended to depart from, and return to, the State of Nebraska.
In fact, the very terms of the parenting plan suggest that her
departure and intent to return were known to the dissolution
court at the time of the original decree.
   In its order, the district court acknowledged language of
the decree, in “Addendum 1 — Financial Plan,” which reads:
“‘CHILD SUPPORT: Neither party shall pay child support.
Said deviation is due to [Joey’s] intention to move to Grenada
in August 2012 and uncertainty regarding her employment and
income.’” This provision, along with the very terms of Joey’s
parenting time set forth in the parenting plan, support the fact
that the change in circumstances Joey relies on in her request
for modification was in fact known to the dissolution court at
the time the decree was entered. As observed by the district
court, “[t]he Parenting Plan set forth regular parenting time
in anticipation of [Joey’s] returning — every other weekend
and every Wednesday evening. That schedule would only have
been feasible while Joey was in Nebraska and thus contem-
plated at the time of the Decree.” Although the district court
used the language “contemplated at the time of the Decree”
in its order denying modification, these provisions were con-
tained within the original decree, which the dissolution court
approved of, thereby necessitating a finding that the dissolution
court knew at the time the decree was entered that Joey may be
returning to Nebraska. Therefore, it cannot be said that the dis-
solution court would have ruled differently knowing that Joey
may return to Nebraska.
   Joey left Nebraska in August 2012 without having been
accepted into medical school in Grenada, and she returned to
Nebraska in 2014 without a medical degree. Joey acknowl-
edged that the master’s degree in nursing she had been pursu-
ing in Grenada was something she could have completed in
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Nebraska. The evidence suggests that Joey’s decision to leave
for Grenada, and her intention to return to Nebraska upon
completion of either her or her then-boyfriend’s education,
is reflected within the very terms of the original dissolution
decree and would have been within the knowledge of the dis-
solution court.
   [7] Ordinarily, custody of a minor child will not be modified
unless there has been a material change in circumstances show-
ing that the custodial parent is unfit or that the best interests
of the child require such action. Schrag v. Spear, 290 Neb. 98,
858 N.W.2d 865 (2015). Here, there is no evidence that Jared
has become unfit to parent the children. To the contrary, the
evidence shows the children have been, and continue to be,
thriving in their father’s care. It was not an abuse of discretion
for the district court to find that Joey did not meet her burden
in showing a material change in circumstances.
   [8] Briefly, we note that even if we had found a material
change in circumstances, Joey has not met her burden of show-
ing that such change is in the best interests of the children.
The evidence shows that the children are happy, healthy, and
thriving in their father’s care. All the children are doing well in
school; enjoy living with their father, stepmother, and stepsis-
ter; and are content with the current visitation schedule. In fact,
both Kali and Liby testified that they would prefer less time
at Joey’s home than under the current parenting plan. While
the wishes of a child are not controlling in the determination
of custody, if a child is of sufficient age and has expressed
an intelligent preference, the child’s preference is entitled to
consideration. Floerchinger v. Floerchinger, 24 Neb. App. 120,
883 N.W.2d 419 (2016) (citing Vogel v. Vogel, 262 Neb. 1030,
637 N.W.2d 611 (2002)).
   In this case, the testimony of Strawn, the children’s thera-
pist, also supports the fact that a modification of the parent-
ing plan providing Joey with joint physical custody, or equal
parenting time, would not be in the children’s best interests.
While Kali and Liby should be encouraged to develop their
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relationship with Joey, forcing that relationship and more time
with her could do more harm than good. Overall, we find that
Joey has not shown that modification of the parenting plan
would be in the best interests of the children.
                    (b) Less Significant Change
                         to Parenting Plan
   Joey next argues that the district court erred when it declined
to make a less significant change to the parenting plan, such as
ordering family therapy. We disagree. Joey argues that despite
her request for joint physical custody or equal parenting time,
the district court “had an independent duty to safeguard the
best interest of the children,” and that if it found joint physi-
cal custody was an inappropriate remedy, “then it should have
considered what other remedial actions would have been avail-
able.” Brief for appellant at 24-25.
   [9] Joey cites no supporting authority for the premise that a
district court has an obligation to consider alternative modifi-
cations to an original parenting plan not requested in the mov-
ing party’s application for modification. As the party seeking
modification, Joey had the burden to show a material change
in circumstances and that such modification is in the children’s
best interests. See, e.g., State on behalf of Jakai C. v. Tiffany
M., 292 Neb. 68, 871 N.W.2d 230 (2015). In its order, the dis-
trict court specifically found that Joey had not met her burden
under either prong. It was not an abuse of discretion for the
district court to leave the original parenting plan intact without
modification. This argument fails.
                        2. Child Support
   Joey next makes a number of arguments regarding the dis-
trict court’s order requiring her to pay child support. While
Joey initially argues that she should not be required to pay
child support in any amount, she also takes issue with the dis-
trict court’s calculations and retroactive date of the award. We
address each of Joey’s assignments of error in turn related to
her obligation to pay child support.
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                  (a) Order to Pay Child Support
   Joey first argues that the district court erred by finding a
material change in circumstances did not exist for purposes of
modification of custody, but simultaneously found that a mate-
rial change in circumstances did exist for purposes of modifi-
cation of child support. Joey contends that the same underlying
facts, her return to Nebraska from Grenada, should lead to the
same conclusion regarding whether or not a material change in
circumstances exists. We disagree.
   [10] A party seeking to modify a child support order must
show a material change in circumstances that (1) occurred
subsequent to the entry of the original decree or previous
modification and (2) was not contemplated when the decree
was entered. Hotz v. Hotz, 301 Neb. 102, 917 N.W.2d 467(2018). Here, Jared has met the burden under his counterclaim
for child support to show a material change in circumstances
not contemplated when the decree was entered. In “Addendum
No. 1 Financial Plan” of the decree, the following provision
addresses the obligation of child support:
         1. CHILD SUPPORT: Neither party shall pay child
      support. Said deviation is due to [Joey’s] intention to
      move to Granada [sic] in August 2012 and uncertainty
      regarding her employment and income. [Joey] has agreed
      to pay additional expenses for the minor children. [Jared]
      has the financial resources to support the minor child and
      believes that this deviation is in the best interest of the
      minor children of the parties.
Based on this provision, it is not Joey’s return to Nebraska
that constitutes a material change justifying modification of
her child support obligation, but, rather, the fact she obtained
certainty in her employment and income.
   In further support of the modification of child support, the
Nebraska Child Support Guidelines provide:
         Application of the child support guidelines which would
      result in a variation by 10 percent or more . . . upward or
      downward, of the current child support obligation . . . due
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      to financial circumstances which have lasted 3 months
      and can reasonably be expected to last for an additional 6
      months, establishes a rebuttable presumption of a material
      change of circumstances.
Neb. Ct. R. § 4-217.
   Jared satisfied the conditions of § 4-217 by establishing that
at the time the decree was entered, Joey was not earning an
income and there was uncertainty regarding her employment
due to her intention to move to Grenada. In 2012, the year
the original dissolution decree was entered, and the year she
left for Grenada, Joey’s adjusted gross income was $30,621.
Since her return to Nebraska, Joey has obtained a master’s
degree in nursing, found stable employment in the field, and
had the capacity to earn a stable income. In 2016, 2 years after
her return from Grenada, Joey’s adjusted gross income was
$69,780.
   [11] Among the factors to be considered in determining
whether a material change of circumstances has occurred are
changes in the financial position of the parent obligated to pay
support, the needs of the children for whom support is paid,
good or bad faith motive of the obligated parent in sustaining
a reduction in income, and whether the change is temporary
or permanent. Incontro v. Jacobs, 277 Neb. 275, 761 N.W.2d
551 (2009). Based on Joey’s substantial increase in income and
stability of her employment in the nursing field, the district
court did not abuse its discretion in finding a material change
in circumstances warranting modification of child support.
               (b) Calculation of Jared’s Income
   Joey next generally asserts that the district court erred in
determining Jared’s income for child support purposes. She
makes a number of allegations why the district court incor-
rectly adopted Jared’s child support calculation worksheet.
                (i) Income Averaging Period
  Joey first argues that the district court erred by using a
4-year income averaging period, rather than a 3-year average
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of Jared’s income. The Nebraska Child Support Guidelines,
worksheet 1, provides: “In the event of substantial fluctuations
of annual earnings of either party during the immediate past 3
years, the income may be averaged to determine the percent
contribution of each parent . . . .” Joey cites to the Supreme
Court’s decision in Gress v. Gress, 274 Neb. 686, 743 N.W.2d
67 (2007), in requesting that this court opine that a 3-year aver-
age should be a rebuttable presumption in cases involving a
fluctuating income of one party. We respectfully decline to do
so. While Gress acknowledged that both in Nebraska, and other
jurisdictions, a 3-year average is the most common averaging
period for fluctuating incomes, it did not make a 3-year period
mandatory, nor a rebuttable presumption. In fact, the Supreme
Court explicitly approved of a 4-year averaging period in
Mamot v. Mamot, 283 Neb. 659, 813 N.W.2d 440 (2012).
Under the 4-year period used by the district court, Jared’s total
monthly income (before deductions) was $5,264. Under the
3-year averaging period suggested by Joey, Jared’s monthly
income would have been $5,453. Without any evidence as to
why use of the 4-year period was “untenable or unreasonable”
or otherwise is “against justice or conscience, reason, and evi-
dence,” we find no abuse of discretion in the district court’s
use of 4 years of income to determine Jared’s child support
obligation. See Schrag v. Spear, 290 Neb. 98, 104-05, 858
N.W.2d 865, 873 (2015).

              (ii) Jared’s Depreciation Deductions
   Joey also argues that the district court erred in determining
Jared’s income, because it should not have permitted his depre-
ciation deductions for his construction business. We agree. We
find that Jared did not meet his burden under the Nebraska
Child Support Guidelines of showing that he was entitled to a
depreciation deduction for certain assets of his business. Neb.
Ct. R. § 4-204 (rev. 2020) provides, in relevant part:
      Depreciation calculated on the cost of ordinary and neces-
      sary assets may be allowed as a deduction from income
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      of the business or farm to arrive at an annualized total
      monthly income. After an asset is shown to be ordinary
      and necessary, depreciation, if allowed by the trial court,
      shall be calculated by using the “straight-line” method,
      which allocates cost of an asset equally over its useful
      duration or life. . . . A party claiming depreciation shall
      have the burden of establishing entitlement to its allow-
      ance as a deduction.
          . . . Any party claiming an allowance of depreciation as
      a deduction from income shall furnish to the court and the
      other party copies of a minimum of 5 years’ tax returns at
      least 14 days before any hearing pertaining to the allow-
      ance of the deduction.
   The Supreme Court recently held in Hotz v. Hotz, 301
Neb. 102, 917 N.W.2d 467 (2018), that § 4-204 provides
the minimum requirements a party must establish in prov-
ing an entitlement to a depreciation deduction. In Hotz, the
court found that the district court did not abuse its discretion
by not deducting appellant’s claimed depreciations from his
monthly income:
          [Appellant] submitted only his 2015 and 2016 personal
      and corporate income tax returns as evidence of his enti-
      tlement to an allowance of depreciation. This evidence is
      insufficient to warrant a deduction under the minimum of
      5 years of tax returns requirement of the [Nebraska Child
      Support Guidelines]. Additionally, no evidence was pro-
      vided that the depreciated assets were ordinary and neces-
      sary or that the depreciation was calculated by using the
      straight-line method. Therefore, the court did not abuse its
      discretion by not deducting [Appellant’s] claimed depre-
      ciations from his total monthly income.
301 Neb. at 112-13, 917 N.W.2d at 476.
   In this case, Jared similarly did not provide any evidence
at trial that the business assets he claimed depreciation deduc-
tions on were “ordinary and necessary,” nor that the deprecia-
tion amount he claimed was done so by using the straight-line
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method, as required by § 4-204. The record also reveals that
Jared provided tax returns for only the years 2013 through
2016, which is 1 year shy of the 5-year minimum. Based on the
evidence presented at trial, Jared did not meet his burden and
he was not entitled to depreciation deductions under § 4-204.
We therefore must recalculate Jared’s total monthly income
used for child support purposes.
   The chart below reflects Jared’s Schedule E income and
the total depreciation amounts claimed by his business for the
years 2013, 2014, 2015, and 2016. It also reflects one-half of
each annual depreciation amount, the amount attributable to
Jared as a 50-percent partner of his business:
                        2016         2015         2014      2013
  Schedule E Income $32,232        $100,360      $63,717   $56,342
  Depreciation         $51,035      $19,996      $53,262   $32,733
  Half of Depreciation $25,518       $9,998      $26,631   $16,367
After determining the amount of depreciation that was incor-
rectly deducted from Jared’s annual income, we add that
amount back to the Schedule E income to determine the
amount that should have been used in determining Jared’s
4-year average:
                        2016         2015         2014      2013
  Schedule E           $32,232     $100,360      $63,717   $56,342
  Half of Depreciation $25,518       $9,998      $26,631   $16,367
    TOTAL              $57,750     $110,358      $90,348   $72,709
An average of the above recalculated annual incomes reveals
Jared’s average annual income for the years 2013 through
2016 was $82,791, or $6,899 per month. This amount is the
amount that should have been used as Jared’s total monthly
income in worksheet 1. For the various reasons discussed else-
where in this opinion, we amend only this line of the district
court’s child support calculation in our recalculation of Joey’s
child support obligation (see attached Appendix 1). We modify
Joey’s monthly child support obligation to $1,289 for three
children, $1,134 for two children, and $807 for one child.
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                  (iii) Business Payments and
                        Schedule E Income
   Joey argues, as an alternative argument, that the district
court erred in basing its determination of Jared’s income on
his Schedule E income rather than the amount of “[g]uaranteed
[p]ayments” issued by his business. However, in her brief,
Joey indicates that this assignment is “presented as an alter-
native, only in the event that the Court declines to add back
Jared’s depreciation deductions.” Brief for appellant at 31.
Because we found that awarding Jared depreciation deductions
in determining his income was in error, we need not address
this argument.
                  (c) Filing Statuses of Parties
   Joey’s next assignment of error is that the district court
erred when it used the wrong filing statuses for the parties
on its child support calculation worksheet. We disagree. As
previously mentioned, modification of child support orders
are reviewed de novo on the record for an abuse of discretion.
McDonald v. McDonald, 21 Neb. App. 535, 840 N.W.2d 573(2013). An abuse of discretion occurs when a trial court bases
its decision upon reasons that are untenable or unreasonable
or if its action is clearly against justice or conscience, rea-
son, and evidence. Schrag v. Spear, 290 Neb. 98, 858 N.W.2d
865 (2015).
   Counsel for Joey discusses at length the propriety of using
the “Married Filing Jointly” status in conducting a child sup-
port calculation, but fails to discuss how the district court’s
decision to utilize that filing status was untenable or unrea-
sonable, or how it is clearly against justice or conscience,
reason, and evidence. Rather, counsel simply asserts that such
“produced a child support obligation that was too high.” Brief
for appellant at 34. However, we agree with Jared that there is
no evidence of the injury Joey would sustain from use of the
“Married Filing Jointly” status and that any benefit or detri-
ment caused applied equally to both parties because the same
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filing status was used. Since both parties were remarried at
the time of trial, we cannot say the district court abused its
discretion in utilizing the “Married Filing Jointly” status in
calculating the amount of child support owed.

              (d) Joey’s Subsequently Born Child
   Joey next asserts that the district court erred when it failed
to give her credit for her subsequently born child on the
child support calculation worksheet. We find that the district
court did not abuse its discretion in declining to award Joey
the credit.
   [12,13] The Nebraska Child Support Guidelines provide, in
certain circumstances, that “[s]ubject to § 4-220, credit may be
given for biological or adopted children for whom the obligor
provides regular support.” Neb. Ct. R. § 4-205(E) (rev. 2016).
The limitation, provided for in Neb. Ct. R. § 4-220 reads:
         An obligor shall not be allowed a reduction in an exist-
      ing support order solely because of the birth, adoption, or
      acknowledgment of subsequent children of the obligor;
      however, a duty to provide regular support for subsequent
      children may be raised as a defense to an action for an
      upward modification of such existing support order.
The trial court has discretion to choose whether and how to
calculate a deduction for subsequent children. Schwarz v.
Schwarz, 289 Neb. 960, 857 N.W.2d 802 (2015). While Joey
argues that this “‘defense’” under § 4-220 “is not an ‘affirma-
tive defense’ that needs to be explicitly pled,” it nevertheless
was her burden to raise the defense and present evidence
in support of a deduction within the calculation of upward
modification of child support. Reply brief for appellant at
6. The party requesting a deduction for his or her obligation
to support subsequent children bears the burden of provid-
ing evidence of the obligation, including the income of the
other parent of the child. Schwarz v. Schwarz, supra. Notably,
in her proposed child support calculation, Joey did not pro-
vide any dollar amount that she alleged as support for her
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subsequently born child. Worksheet 1, the basic net income
and support calculation under the Nebraska Child Support
Guidelines, specifically provides for “Regular Support for
Other Children.”
   While Joey testified to the fact that she had a child as a
result of her current marriage to Lee, she did not produce
evidence of her obligation to support the child and of Lee’s
income to explain how the child support should be calculated,
nor did she even raise the issue of the deduction. Joey did
not meet her burden under § 4-220, and the district court did
not abuse its discretion in failing to credit Joey for her subse-
quently born child in its child support calculation.

                      (e) Retroactive Date of
                       Child Support Award
   [14,15] Joey’s final assignment of error is that the district
court erred when it made its child support award retroactive.
We disagree. In its modification decree, the district court
noted that “[Joey’s] child support obligation should be applied
retroactively to August 1, 2015, the first day of the month
after the filing of the Counterclaim.” In doing so, the district
court cited the general rule that “absent equities to the con-
trary, . . . the modification of a child support order should be
applied retroactively to the first day of the month following
the filing day of the application for modification.” Roberts v.
Roberts, 25 Neb. App. 192, 206, 903 N.W.2d 267, 278 (2017).
The children and the custodial parent should not be penalized
for delay in the legal process, nor should the noncustodial
parent gratuitously benefit from such delay. McDonald v.
McDonald, 21 Neb. App. 535, 840 N.W.2d 573 (2013).
   Joey argues that this case is distinguishable from the “tra-
ditional” modification case where the method of determining
child support remains the same, and only the amount of support
changes; rather, here, the scope of reimbursement has changed,
creating a windfall for Jared. Joey argues this windfall comes
in the form of retroactive child support without any credit
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for the “‘direct costs’” she paid under the original decree.
Brief for appellant at 36. However, Joey interprets the district
court’s modification decree as having “changed [the] scope of
reimbursable items to include medical expenses only.” Id. We
disagree with this interpretation. The modification order pro-
vided that Jared is to pay the first $480 in uninsured medical
expenses but did not otherwise modify the original reimburse-
ment provision, including expenses related to school, extracur-
ricular activities, and daycare. Instead, the modification order
provided that “all other terms and conditions of the Decree
of Dissolution hereinbefore entered on July 16, 2012 not oth-
erwise modified herein to remain in full force and effect.”
The modification order did not modify the original provisions
related to reimbursable expenses the parties were, and still are,
required to split equally between each other. These expenses
are separate and distinct from the order of child support and
were not altered in the district court’s order of modification.
Furthermore, Joey has not provided any evidence as to what
“‘direct costs’” she is entitled to reimbursement for, nor in
what amount. Brief for appellant at 36. We therefore find that
the district court did not abuse its discretion in ordering that
the child support order be made retroactive to the first day of
the month after the filing of the counterclaim.
                      VI. CONCLUSION
   Upon our review, we conclude that the district court did not
abuse its discretion in refusing to modify child custody and
parenting time and in modifying Joey’s child support obliga-
tion. However, we find that the district court erred in awarding
Jared depreciation deductions in its calculation of his monthly
income. We have recalculated Joey’s child support obligation,
consistent with our findings, in the child support worksheet
attached to this opinion as Appendix 1. We modify Joey’s
monthly child support obligation to $1,289 for three children,
$1,134 for two children, and $807 for one child.
                                       Affirmed as modified.
                    - 409 -
Nebraska Court of Appeals Advance Sheets
     28 Nebraska Appellate Reports
              FICHTL v. FICHTL
            Cite as 28 Neb. App. 380
               APPENDIX 1
